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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-0382-PLF
                                           )
CHRISTOPHER WARNAGIRIS,                    ) TRIAL: NOVEMBER 8, 2023
                                           )
         DEFENDANT.                        )
__________________________________________)

           MOTION FOR A BILL OF PARTICULARS
———————————————————————————————————————


         In the event that this Court denies Defendant’s Motions to Dismiss, ECF No. 37 and 43,

and pursuant to Fed. R. Evid. 7(f), the Defendant moves for a Bill of Particulars for Counts One,

Two, and Three of the Second Superseding Indictment.1

         The purpose of a bill of particulars is to apprise the defendant of the nature of the charges

in such a way as to ensure that he (1) understands the charges, (2) can prepare a defense, (3) can

avoid prejudicial surprise at trial, and (4) can potentially be protected against retrial for the same

offenses. United States v. Butler, 822 F. 2d 1191 (D.C. Cir. 1987). A bill of particulars serves as a

type of lesser-included tool in the Federal Rules of Evidence to address the concerns outlined by

Defendant in his motions to dismiss. However, “it is a settled rule that a bill of particulars cannot

save an invalid indictment.” Russell v. United States, 369 U.S. 749, 770 (1962).




1 The Defendant is filing this motion prior to a ruling on his preceding motions in order to preserve the request.



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       Incorporating by reference the arguments of insufficiency of the indictment, made in ECF

No. 37, 43, 45, 48, and 52, the Defendant asks this court to order a Bill of Particulars on Counts

One, Two, and Three of the Second Superseding Indictment.

       Specifically, the defendant requests to know the descriptions of the actus reus the

Government is alleging for each of Counts One, Two, and Three of the Second Superseding

Indictment — the manner in which, and the specific circumstances under which, the acts

alleged were committed, as well as the specific timeframe during which the acts were

committed. The Defendant is seeking notice sufficient “of what he must be prepared to meet.”

Russell v. United States, 369 U.S. 749, 763-64 (1962).

       The decision to order a Bill of Particulars rests entirely within the discretion of this Court.

Considering the significant deficiencies of the Superseding Indictment outlined by the defendant,

a Bill of Particulars appears to be an equitable remedy that balances the interests of the parties in

the event that this Court decides that the defendant has not met the burden for a Motion to

Dismiss the Indictment.




                                               Respectfully submitted,

                                               By Counsel:

                                                      /s/
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                        CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on September 11, 2023, I will electronically file the foregoing with
the Clerk of the Court for the United States District Court for the District of Columbia by using
the CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and
that service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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